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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-01636-WJM-MJW

  DIGITALGLOBE, INC., a Delaware corporation,

  Plaintiff,

  v.

  LOU PALADINO, an individual,

  Defendant.

                                      MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

           It is hereby ORDERED that Defendant’s Motion for Redaction of Hearing
  Transcript (Docket No. 69) is GRANTED in part. As Plaintiffs’ argue, Defendant does
  not identify which specific portions of the transcript include information that implicate
  Part 252.204-7000(a). Further, Defendant’s statement that he believes that essentially
  all of the transcript (Docket No. 81 at 1 (“page 10:7 to the close of the evidence at page
  300:6")) contains such information seems to push the boundaries of Local Rule 7.2(a)’s
  clear mandate that “the public shall have access to all documents filed with the court
  and court proceedings.” However, the Court understands that Defendant “is seeking
  guidance from the Government” regarding its interpretation of Part 252.204-7000(a).
  (Docket No. 69 at 2). Accordingly, it is further ORDERED that the Clerk of the Court
  shall place Docket No. 59 under Level 1 Restriction. It is further ORDERED that after
  Defendant receives guidance from the government regarding its interpretation of Part
  252.204-7000(a), Defendant shall file a redacted version of Docket No. 59 on the docket
  if any portion of this document does not contain information that the government
  believes must be restricted from public access. It is further ORDERED that if Defendant
  has not received guidance from the government by January 26, 2018, Defendant shall
  file a Status Report on the docket informing the Court of the status of his
  correspondence with the government regarding Part 252.204-7000(a).

  Date: December 21, 2017
